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  7                         UNITED STATES DISTRICT COURT

  8                        CENTRAL DISTRICT OF CALIFORNIA

  9
      CHAMBER OF COMMERCE OF                       Case No. 2:24-cv-00801-ODW-PVCx
 10   THE UNITED STATES OF
      AMERICA, CALIFORNIA                          ORDER GRANTING LEAVE TO
 11   CHAMBER OF COMMERCE,                         FILE SUR-REPLIES TO
      AMERICAN FARM BUREAU                         PLAINTIFFS’ MOTION FOR
 12   FEDERATION, LOS ANGELES
      COUNTY BUSINESS                              SUMMARY JUDGMENT ON
 13   FEDERATION, CENTRAL                          CLAIM I
      VALLEY BUSINESS
 14   FEDERATION, and WESTERN
      GROWERS ASSOCIATION,
 15
                                     Plaintiffs,
 16
                   v.
 17
      LIANE M. RANDOLPH, in her
 18   official capacity as Chair of the
      California Air Resources Board,
 19   STEVEN S. CLIFF, in his official
      capacity as the Executive Officer of
 20   the California Air Resources Board,
      and ROBERT A. BONTA, in his
 21   official capacity as Attorney General
      of California,
 22
                                   Defendants.
 23

 24                                         ORDER
 25         Having considered the foregoing Stipulation, and good cause appearing
 26   therefor, IT IS HEREBY ORDERED THAT:
 27

 28
      ORDER GRANTING LEAVE TO FILE SUR-REPLIES TO PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT ON
                                                                                      CLAIM I
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  1         1. Defendants are permitted to file a sur-reply addressing NetChoice, LLC v.
  2   Bonta, -- F.4th --, 2024 WL 3838423 (9th Cir. Aug. 16, 2024), of no more than 500
  3   words, on or before September 3, 2024; and
  4         2. Plaintiffs are permitted to file a response to Defendants’ sur-reply
  5   addressing NetChoice, LLC v. Bonta, -- F.4th --, 2024 WL 3838423 (9th Cir. Aug.
  6   16, 2024), of no more than 250 words, on or before September 5, 2024.
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  8         IT IS SO ORDERED.
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 11
            Dated: August 30, 2024
                                                    HON. OTIS D. WRIGHT, II
 12                                                 United States District Judge
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      ORDER GRANTING LEAVE TO FILE SUR-REPLIES TO PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT ON
 28                                                                                   CLAIM I
